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                        Exhibit B
             Partially Satisfied Proofs of Claim
                                                        Case 20-10343-LSS                 Doc 6645-2            Filed 10/15/21           Page 2 of 2
                                                                                Second Notice of Satisfaction
                                                                              Exhibit B: Partially Satisfied Claims
                                                                                          ASSERTED                                                                      MODIFIED
    NAME                                     CLAIM#                    DEBTOR                  PRIORITY              AMOUNT                         DEBTOR                   PRIORITY             AMOUNT
                                                                                                STATUS                                                                        STATUS
1   EAN SERVICES LLC                         C343-67      Boy Scouts of America               Unsecured                   $15,780.25 Boy Scouts of America                  Unsecured                       $9,094.01
    ATTN: MARY BUSHYHEAD
    14002 E 21ST ST, STE 1500
    TULSA, OK 74134


    Reason: According to the Debtors’ books and records, the valid claim amount is $9,094.01. A total of 97 invoices were claimed in the amount of $15,780.25. Of the 97 claimed invoices, 47 invoices
    contain claimed amounts determined by the Debtors to be partially or wholly related to postpetition liabilities. These postpetition liabilities were paid in the amount of $6,686.25. Therefore, the claim
    should be reduced by that paid amount. Invoice-level payment detail is voluminous and available upon request.
2   FLOYD, PFLUEGER & RINGER, P.S.           C343-420     Boy Scouts of America               Unsecured                     $1,654.00 Boy Scouts of America                 Unsecured                        $558.00
    ATTN: THOMAS B NEDDERMAN
    200 W THOMAS ST, STE 500
    SEATTLE, WA 98119


    Reason: According to the Debtors' books and records, the valid claim amount is $558. Invoices 60934 and 60935 were claimed in the amounts $1,032 and $622, and a portion of each invoice contains
    postpetition liabilities: $548 for invoice 60934 and an additional $548 for invoice 60935. These invoices were paid via ACH no. 00001148 on 3/3/21. Therefore, the claim should be reduced by $1,096.
3   FRANKLIN COVEY CLIENT SALES              C343-98      Boy Scouts of America               503(b)(9)                   $19,350.00 Boy Scouts of America                  503(b)(9)                        $898.77
    INC
    ATTN: FRANKLIN COVEY                                  Boy Scouts of America               Unsecured                     $2,447.63 Boy Scouts of America                 Unsecured                       $2,447.63
    P.O. BOX 25127
    SALT LAKE CITY, UT 84125                                                                  Subtotal                    $21,797.63                                        Subtotal                        $3,346.40


    Reason: Given that the service dates for this invoice span from 2/1/2020 - 1/31/2021, the majority of the invoice, $18,451.23, is a postpetition liability. The $18,451.23 postpetition liability was
    paid in full via Check No. 01352345 dated 3/3/2021.

                                                          TOTAL                                                           $ 39,231.88 TOTAL                                                            $ 12,998.41




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